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                                                                Government Exhibit 7a
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                                                     Government Exhibit 7b
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                                                          Government Exhibit 7c
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                                                     Government Exhibit 7d
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                                                     Government Exhibit 7e
